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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                        CRIMINAL NO.

                v.                               DATE FILED:

 KALIEF LADSON                                   VIOLATION:
     a,ikla "Kalief A. Ladson"                   18 U.S.C. $ 922(gXl) (possession of
                                                 ammunition by a felon - 1 count)
                                                 Notice of forfeiture


                                         INDICTMENT

                                          COUNT ONE

THE GRAND JURY CHARGES THAT:

               On or about January 23,2023, in Philadelphia in the Eastem District of

Pennsylvani4 defendant

                                      KALIEF LADSON,
                                   a./k/a 'Kalief A. Ladson,"

knowing he had previously been convicted in a court of the Commonwealth ofPennsylvania ofa

crime punishable by imprisonment for a term excssding one year, knowingly possessed

ammunition, that is, at least one of the following: six live rounds of Federal Cartridge Company

.40 S&W caliber ammunition; and eleven live rounds of Winchester .40 S&W caliber

ammunition, and the ammunition was in and affecting interstate and foreign commerce.

               In violation of Title 18, United States Code, Section 922(9)(1).
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                                  NOTICE OF FORFEITURE

THE GRAND JURY FURTIIER CTIARGES THAT:

               As a result ofthe violation of Title 18, United States Code, Section 922(g)(l) set

forth in this indictment, defendant

                                         KALIEF LADSON,
                                      a/k/a "Kalief A. Ladson,"

shall forfeit to the United States of Americ4 the ammunition involved in the commission of the

offense, including, but not limited to:

               I   .   six rounds of Federal Cartridge Company .40 S&W caliber ammunition;

                       and

               2.      eleven rounds of Winchester.40 S&W caliber ammunition.

               All pursuant to Title 28, United States Code, Secrion 2461(c) and Title 18, United

States Code, Section 924(d).

                                                      A TRUE BILL:




                                                      GRAND          FOREPERSO\




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JACQUELINE C. ROMERO
UNITED STATES ATTORNEY




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                         Eastern District of Pennsylvania


                                     Crirninal l)ivis ion


               THE UNITED STATES OF AMERICA


                                   KALIEF I,ADSON
                                  a/kia "Kalief A. Ladson"
                                             Indictrnent

     l8 U.S.C. $ 922(g)( I ) (possession ofa firearm by a felon - I count)
                                   Notice of forfeiture
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